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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


                                       )
UNITED STATES OF AMERICA,              )
                Plaintiff,             )
                                       )
               v.                      ) CRIMINAL NO. 06-10292-PBS-7
                                       )
ALEJANDRO NAVA-RUIZ,                   )
                Defendant.             )
                                       )

                            MEMORANDUM AND ORDER

                             September 28, 2007

Saris, U.S.D.J.

                               I.    INTRODUCTION

     The defendant moves to suppress out-of-court and in-court

identifications made of the defendant as a result of an unduly

suggestive identification procedure which took place on July 14,

2006.1     In support of his motion, the defendant argues that the

identification procedure used -- of presenting a single photo to

a police officer witness -- was unduly suggestive and that the

identification was otherwise unreliable. After an evidentiary

hearing on September 7, 2007, the motion is DENIED.

                               II.    BACKGROUND

A.   Surveillance of a “Mexican Male”


     1
       The defendant previously moved to suppress any items
seized as a result of the out-of-court identification, and any
“fruits” of the search, including but not limited to any
information learned by the government as a result of the
identification of the defendant as well as any items recovered
from the defendant at the time of his arrest. (Def. Mot. at 1).
At the evidentiary hearing held on September 7, 2007, the
defendant limited his request for relief to the suppression of
the out-of-court identification and the in-court identification
made at the hearing. (Tr. 106).
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     As part of an ongoing investigation of the drug distribution

ring of Camilo Cury, federal and state law enforcement agents

conducted surveillance and wiretaps on several individuals.

During the course of one four-month wiretap, law enforcement

intercepted numerous telephone conversations between Cury and an

individual called “Alex” discussing cocaine and heroin

trafficking activities.

     In intercepted conversations occurring between July 11 and

July 13, 2006 Cury and “Alex” arranged to meet in Boston so that

Cury could return an amount of “black tar”2 heroin to “Alex” that

Cury had difficulty selling in Boston.           “Alex” was to fly into

Boston, pick up the heroin, drive to Newark in a rental car, and

fly back from Newark.        Law enforcement agents believed, based on

these conversations, prior surveillance, and other information,

that the heroin was kept at a location on 18 Dacia Street in

Dorchester, Massachusetts.

     On July 13, 2006, a little before 1:00 p.m., Lt. Det.

Michael Stewart began conducting surveillance near the 18 Dacia

Street location.       At the time Lt. Det. Stewart, a Scituate Police

Department police officer for twenty-four years assigned to the

FBI’s High Intensity Drug Trafficking Area (“HIDTA”) Task Force,

was a surveillance supervisor for the four-month wiretap.              Lt.

Det. Stewart was instructed to look out for Cury traveling with a

“Mexican male” to pick up a quantity of heroin from a third

     2
       “Black tar” heroin is a type of heroin grown principally
in Mexico and usually sold in the western United States. (See
Tr. 61-62).

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person.    Lt. Det. Stewart was not told that the male was named

“Alex,” nor was he told that the male was coming from any

particular state.

       Lt. Det. Stewart conducted his surveillance of the 18 Dacia

Street location from inside of a white Dodge construction van

equipped with two nonworking cameras.         The van was parked on

Dacia Street, a one way street.        The back of the van faced an

intersection where a side street, Wayland Street, meets Dacia

Street from the same side of the street as the van.           The back of

the van was approximately two car lengths from the Wayland Street

intersection.    (Tr. 8-10; Gov’t Ex. 1).

       The back of the van had two square windows, each

approximately 18" by 18", covered with black vinyl covers to

prevent individuals from looking into the van.          Lt. Det. Stewart

was able to observe out of the back of the van by peeling back

the vinyl cover of one window and looking out of an approximately

3" by 3" corner of the window.       Despite the small space, Lt. Det.

Stewart had “full vision from anything I could see coming off of

Wayland Street to [a] store” directly across Dacia Street.               (Tr.

26).    The weather was clear.     (Gov’t Ex. 4).

       At about 2:00 p.m., Lt. Det. Stewart observed Cury walking

with a “Hispanic male shorter than . . . Cury, heavyset and

[with] a round face” walking off of Wayland Street onto Dacia

Street.    (Tr. 7).   The two met with the driver of a Ford Explorer

parked along the same side of Dacia Street as the surveillance

van, facing the back of the van and “just the other side of


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Wayland Street.”   (Tr. 10-12, Gov’t Ex. 1).       The driver of the

Explorer was a black Hispanic male wearing a New York Yankees hat

having a height of around six feet.      The Ford Explorer was

registered to 18 Dacia Street, and earlier in the day the man in

the New York Yankees hat was observed going in and out of 18

Dacia Street.

     All three men met and spoke briefly in front of the Ford

Explorer.   (Tr. 13, Gov’t Ex. 1).     No cars were parked between

the Ford Explorer and the van.     The three men were approximately

fifty feet away from the back of the van, and Lt. Det. Stewart

had an unobstructed view of the Ford Explorer.        The men created a

triangle.   The man in the Yankees hat faced the back of the van,

and Cury faced down Wayland Street.      The Hispanic male did not

face towards the van, but looked around in every direction.            The

men talked for about a minute.     Lt. Det. Stewart then witnessed

Cury look down Dacia Street in his direction, turn back to the

other two men, “took one more look in [his] direction, and the

conversation seemed to end abruptly.”       (Tr. 15).

     Afterwards Cury and the Hispanic male crossed Dacia Street

and entered a store.    They stayed in the store for less than a

minute.   They then came out of the store and onto the sidewalk,

with Cury crossing Dacia Street and walking to the passenger side

of the Ford Explorer.    By that time the man in the Yankees hat

was seated in the driver’s seat of the Explorer.         The Hispanic

male stayed on the sidewalk in front of the store eating a

popsicle or some ice cream, about fifty feet away from the back


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of the van.   Lt. Det. Stewart again observed the Hispanic male

eating for about thirty seconds.

     Cury signaled for the Hispanic male to join him, and the

Hispanic male walked across Dacia Street as Cury walked away from

the Explorer and towards Wayland Street.       The Explorer

immediately drove off.    Moments after both Cury and the Hispanic

male both walked out of view of Lt. Det. Stewart, the two were

observed in a white Dodge Caliber driving down Wayland Street and

turning onto Dacia Street.     Lt. Det. Stewart observed Cury

driving the vehicle and the Hispanic male in the passenger seat.

Lt. Det. Stewart observed and wrote down the license plate number

of the white Dodge Caliber as it drove past the surveillance van

towards Quincy Street.    He did not follow the car.       Lt. Det.

Stewart sent a radio transmission of the license plate number and

the direction of the car to other surveillance units.         He also

sent a description of the Hispanic male, describing him, in

substance, as “a round-faced individual, medium to heavyset,

shorter than Camilo Cury.”     (Tr. 72).    He did not include any

other information in his description, including hair color, eye

color, facial hair, approximate weight, approximate height, or

what he was wearing.

     Lt. Det. Stewart observed the Hispanic male accompanying

Cury, in total, for about “a minute and a half.”         (Tr. 25).     He

did not take any notes about the Hispanic male’s appearance

either during or immediately after observing him.         Lt. Det.

Stewart also did not take any pictures of the Hispanic male or


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the vicinity, and has not seen the Hispanic male prior to the

evidentiary hearing on this motion.

     At 3:15 p.m., the Ford Explorer, driven by the individual

wearing the Yankees hat, left 18 Dacia Street carrying two dark

trash bags that appeared to contain heavy items and placed them

in a green Mercedes.     The green Mercedes was later pursued and

stopped.   A large quantity of heroin, cocaine, and a 9 mm Smith &

Wesson were found in the two dark trash bags.

B.   The Single Photo Identification

     Immediately after receiving information from Lt. Det.

Stewart, law enforcement agents attempted to identify the

Hispanic male accompanying Camilo Cury.       A special agent in the

investigation determined from the license plate number that the

Dodge Caliber was rented from a local Thrifty car rental.          The

special agent also learned who had rented the Caliber, and based

on that information obtained a photo of the individual from the

Arizona Registry of Motor Vehicles.      The photo contained

identifying information about the individual, who was named

“ALEJANDRO RUIZ NAVA.”    (Gov’t Ex. 2).

     Between July 13 and July 14, 2006, the special agent

provided the photograph to case agent Det. Eduardo Dominguez,

Jr., a Boston police detective for twenty-eight years, a member

of the FBI’s drug task force, and a co-investigator for the

investigation with FBI special agent Jill Heeter.         Det. Dominguez

had received Lt. Det. Stewart’s earlier radio transmission, and

knew that he was the officer conducting surveillance at 18 Dacia


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Street on July 13th.

       On July 14, 2006, around noon, Lt. Det. Stewart arrived at

his office to complete his surveillance log of what he had

observed the previous day.       At the time Lt. Det. Stewart had no

knowledge of the Hispanic male that accompanied Cury beyond what

he had observed, although he testified that he may have learned

that the white Dodge Caliber was a rental car.          (See Tr. 52-53,

58).    Lt. Det. Stewart had not been informed of any name for the

Hispanic male, or any name associated with the rental car.

       Shortly thereafter Det. Dominguez entered Lt. Det. Stewart’s

office while Stewart was preparing his surveillance log.            After

exchanging pleasantries Det. Dominguez presented to Lt. Det.

Stewart a single photo that contained identifying information.

The photo was the photo previously obtained from the Arizona

Registry of Motor Vehicles, although Lt. Det. Stewart did not

know at the time how Det. Dominguez came to obtain the photo.            On

presenting the photo,      Det. Dominguez inquired, “Does this guy

look familiar?”     (Tr. 46).

       Lt. Det. Stewart responded by saying, in substance, that

“that was the person that was with Camilo Cury the previous day.”

(Tr. 19, 66, 78).     Lt. Det. Stewart testified that “there was no

doubt whatsoever.”     (Tr. 19).    Lt. Det. Stewart further testified

that the identifying information on the photo did not mean

anything to him, and that he felt no pressure to make an

identification.     (Tr. 21).    On occasion, Stewart has declined to

make positive identifications when shown photographs by police


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officers.

     Afterward Lt. Det. Stewart spoke briefly with Det. Dominguez

about the efforts to identify the Hispanic male, and learned

other identifying information, such as the name of the person who

rented the Dodge Caliber.         Lt. Det. Stewart then used that

information to complete his surveillance log.            He described the

Hispanic male in his log as a heavyset, short, Hispanic man with

a round face.      (See Tr. 34).3

     Based in part on this identification, a federal arrest

warrant was issued for the defendant, and on November 9, 2006,

the defendant was arrested in Phoenix, Arizona.

C.   The In-Court Identification

     The defendant subsequently moved to suppress Lt. Det.

Stewart’s out-of-court identification.           At the evidentiary

hearing on the motion, held on September 7, 2007, Lt. Det.

Stewart was presented, and identified, the photo Det. Dominguez

initially showed him on July 14, 2006.           Lt. Det. Stewart was then

asked the following:

     Q: Now do you see that man in the courtroom today?
     A: Yes, I do.
     Q: Would you point him out, please.
     A: He’s the gentlemen in the orange suit.

(Tr. 20).      Lt. Det. Stewart described and pointed to the

defendant.      No other person in the courtroom was orange-suited.

Lt. Det. Stewart also identified the defendant as the person he

saw on July 13, 2006.

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       Neither party submitted the surveillance log into
evidence.

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                             III.   DISCUSSION

A.     Standard of Review

       The standard for determining whether to suppress

identification evidence is “that of fairness as required by the

Due Process Clause of the Fourteenth Amendment.”           Manson v.

Brathwaite, 432 U.S. 98, 113 (1977).        Identification evidence

should be suppressed only in “extraordinary circumstances.”

United States v. Watson, 76 F.3d 4, 6 (1st Cir. 1996).

       Courts evaluate the fairness of an identification using a

two-pronged inquiry.      United States v. de Jesus-Rios, 990 F.2d

672, 677 (1st Cir. 1993).       A court must first determine whether

the identification procedure was “impermissibly suggestive.”

Id.; see also United States v. Maguire, 918 F.2d 254, 263 (1st

Cir. 1990).    If not, the analysis ends.        Maguire, 918 F.2d at

263.    If so, the court must decide whether the identification was

nevertheless reliable under the totality of the circumstances.

de Jesus-Rios, 990 F.2d at 677.

       In assessing the reliability of an identification, courts

consider five factors:

       1) the witness’s opportunity to view or observe the
       defendant;
       2) the witness’s degree of attention;
       3) the accuracy of the witness’s description of the
       defendant;
       4) the level of certainty demonstrated by the witness
       at the identification; and
       5) the length of time between the crime and the
       identification.

United States v. Smith, 429 F. Supp.2d 440, 448 (D. Mass. 2006)

(citing Neil v. Biggers, 409 U.S. 188, 199-200 (1972); Manson,


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432 U.S. at 114 (1977); de Jesus-Rios, 990 F.2d at 677).          Not all

factors must be present; instead, they are to be examined

together as part of the court’s “totality of the circumstances”

inquiry.   de Jesus-Rios, 990 F.2d at 677-78.

     “[I]n-court identification testimony is admissible unless

its basis, the pretrial identification, has proven so

impermissibly suggestive as to give rise to a very substantial

likelihood of misidentification.”       Maguire, 918 F.2d at 264-65

(1st Cir. 1990) (citing Biggers, 409 U.S. at 198; Simmons v.

United States, 390 U.S. 377, 384 (1968)). “An in-court

identification . . . may nevertheless escape suppression if the

court determines that the in-court testimony is somehow reliable

despite the suggestiveness of the earlier identification

procedure.”   Smith, 429 F. Supp. 2d at 449.       Moreover, to the

extent that the identification procedure is minimally suggestive,

the First Circuit has considered whether the suggestibility could

be “cured at trial” through cross-examination.         Maguire, 918 F.2d

at 264.

B.   The Suggestibility of the Identification Procedure

     The defendant first contends that the identification

procedure used by Det. Dominguez to identify the defendant, of

presenting a single photo to Lt. Det. Stewart, was impermissibly

suggestive, since single photo procedures “present so serious a

danger of suggestiveness as to require that they be given

extremely careful scrutiny.”      Nassar v. Vinzant, 519 F.2d 798,

801 (1st Cir. 1975); see also Manson, 432 U.S. at 116


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(“identifications arising from single-photograph displays may be

viewed in general with suspicion.”).       The defendant further

insists that the single photo procedure used in this case is

impermissibly suggestive regardless of whether the witness is a

civilian or a police officer like Lt. Det. Stewart.          (Def. Mem.

at 4).

     Several courts have analyzed the suggestibility of an

identification procedure used for a police officer witness like

“that of a normal witness.”     See United States v. Smith, 429 F.

Supp. 2d 440, 448 (D. Mass. 2006) (citing United States v. Lopez-

Lopez, 282 F.3d 1, 10 (1st Cir. 2002)).       Furthermore the rules

and regulations for identification procedures promulgated by the

Boston Police Department and the Department of Justice, both of

which advise against the use of single photo identification

procedures, do not distinguish between civilian and police

witnesses.    (Tr. 81-83, 87-89; Def. Ex. D at Rule 330, Def. Ex.

E. at 33-35).   Det. Dominguez, however, testified that single

photograph identifications for police officers were the norm and

were not viewed as problematic; “I’ve never seen it done any

other way.”   (Tr. 40).

     The first question is whether the single photo

identification procedure used in this case was “impermissibly”

suggestive given the lack of exigent or emergency circumstances.

At the first glance, the case is similar to Smith, where the

court found impermissibly suggestive an identification procedure

in which the witness, a police officer, was also presented a


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single photo in the presence of at least one other officer.             In

Smith the witness was “clearly aware” that the officer presenting

the photo “had been looking for the unknown man” based on prior

descriptions from the officer, and therefore “surely knew who the

‘guy’ in [the] single photo might be.”       429 F. Supp. 2d at 450.

Similarly, in this case, one can reasonably infer that Lt. Det.

Stewart was aware that Det. Dominguez was looking for a specific

person, even though in asking if Lt. Det. Stewart recognized the

individual in the photo Det. Dominguez did not indicate who the

person could be.   Still, Det. Dominguez had not discussed and

described the unidentified individual with Lt. Det. Stewart

previously, Lt. Det. Stewart had no identifying information about

the individual apart from what he observed the day before, and

Lt. Det. Stewart felt no pressure to make an identification.

Indeed, he had refused to identify suspects in the past.4

     The Supreme Court held in Manson that an identification

based on single photograph left on a police officer’s desk was

suggestive, but that it was not “corrupting” and was otherwise

reliable because, among other things, there was “little pressure

on the witness to acquiesce in the suggestion that such a display

entails.”   432 U.S. at 116.    Holding that reliability is the

“linchpin,” the Supreme Court has instructed courts to weigh the

reliability factors against the “corrupting effect of the

     4
       One other crucial difference between Smith and this case
is that the police officer witness’s credibility in Smith was
“doubtful” based on “four different accounts of his out-of-court
photo identification of” the defendant. 429 F. Supp. 2d at 443.
The Court finds no such credibility issues in this case.

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suggestive identification itself.”       Id. at 114.

C.   The Reliability of the Identification

     Even though the identification procedure used in this case

was suggestive, the Court finds Lt. Det. Stewart’s identification

reliable under the totality of the circumstances.         The Court

finds that Lt. Det. Stewart’s identification of the defendant,

based upon the single photo shown to him by Det. Dominguez,

sufficiently satisfies four of the five factors used by courts to

determine the reliability of an identification.

     1.    Opportunity to Observe

     Lt. Det. Stewart had an adequate opportunity to observe the

defendant.     Lt. Det. Stewart observed the defendant

intermittently for approximately one and a half minutes, from

about fifty feet away, out of a 3" by 3" corner of a van window

on an otherwise clear day.     He had sufficient time to identify

the individual.    In Manson, for example, the Supreme Court upheld

the reliability of an identification made by a police officer who

viewed the suspect for approximately “two to three minutes” near

sunset.   432 U.S. at 114; see also de Jesus-Rios, 990 F.2d at 678

n.6 (finding that the witness had “ample time” when he viewed the

suspect “for at least five minutes.”); United States v.

Eatherton, 519 F.2d 603, 606, 609 (1st Cir. 1975) (finding

identification reliable where witness, a high school senior,

viewed suspect for “about a minute”); but see Smith, 429 F. Supp.

2d at 451 (finding a “mere forty-five seconds” insufficient time

to observe).    Lt. Det. Stewart’s vantage point also was


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sufficiently close to allow him to observe the defendant.           A

distance of fifty feet, while longer than the two feet distance

in Manson, is still relatively near.       It is not unlike the

difference between a person at sidebar and a person at the back

of the courtroom.    (See Tr. 13).      Finally, though the size of the

window area he used was small, nothing obstructed Lt. Det.

Stewart’s view, the day was clear, and the defendant at all times

was in front of him.    Cf. Smith, 429 F. Supp. 2d at 451 (finding

opportunity to observe limited where witness was in front seat of

car and unknown man was in back seat).

     2.   The Degree of Attention

     Lt. Det. Stewart exercised a sufficient degree of attention

to make his identification reliable.       Lt. Det. Stewart was not a

“casual or passing observer,” Manson, 432 U.S. at 115, nor under

any duress such as a victim of a violent crime.         See United

States v. Johnson, 412 F.2d 753, 755 (1st Cir. 1969) (noting

difference between officers and “a witness to a violent crime

whose perceptions may be suspect because of the extreme anxiety

of the moment.”).    Instead, Lt. Det. Stewart paid specific

attention to the defendant as part of his duties as a

surveillance officer for the investigation.        Moreover, as a

surveillance officer and an officer of the Scituate Police

Department for twenty-four years, Lt. Det. Stewart “would have

been aware of the importance of an accurate identification

because of his training and experience and therefore it is

logical to conclude that he was sufficiently attentive.”          United


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States v. Fields, 871 F.2d 188, 195 (1st Cir. 1989) (finding

reliable an identification made by experienced police officer

working as a part time security guard at the time of the

observation) (emphasis added).

     The defendant’s contention that Lt. Det. Stewart’s degree of

attention was not sufficient are unavailing.        At the evidentiary

hearing the defendant argued that Lt. Det. Stewart’s

identification was not entitled to “something greater” because it

was not “demonstrated [that] these police officers have specific

training or experience on surveillance.”        (Tr. 104).    Lt. Det.

Stewart, however, testified to his experience as an officer in

the Scituate Police Department for twenty-four years, his

affiliation with HIDTA, and, most importantly, his assignment as

surveillance supervisor.     The Court finds that this experience is

sufficient to allow the Court to conclude that Lt. Det. Stewart

was aware of the importance of an accurate identification, and

thus paid sufficient attention to conduct his task.

     3.     The Accuracy of the Prior Description

     The defendant does not contest the accuracy of Lt. Det.

Stewart’s description, (see Def. Mem. at 11) but contends that

Lt. Det. Stewart’s prior description was too general, since it

only described the unknown individual as a heavyset, short,

Hispanic man with a round face, without including a specific

height, hair color, eye color, facial hair, or a description of

clothing.    (See Tr. 72-74).   Courts have used the accuracy of a

prior description as evidence of “the extent of [the witness’s]


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observation of the [suspect] and her ability to recall what she

had seen.”    See Nassar, 519 F.2d at 801 (crediting description

that was later used to construct a sketch of the unidentified

individual).    In Smith, for example, the court criticized for its

“extraordinary level of generality” descriptions that included,

among other things, height, weight, complexion, and age.          429 F.

Supp. 2d at 452.5    Given the generality of Lt. Det. Stewart’s

description, the Court finds that it mitigates against the

reliability of the identification.

     4.      The Level of Certainty

     Lt. Det. Stewart testified that he had “no doubt whatsoever”

that the individual in the photo was the Hispanic male he

observed the previous day, (Tr. 19), and the Court finds his

testimony credible.     Accordingly, the Court credits Lt. Det.

Stewart’s level of certainty in establishing the reliability of

his identification.    See Manson, 432 U.S. at 115 (finding

identification reliable where police officer witness testified

that “[t]here is no question whatsoever” as to the identify of

the person in photo shown to him).

     5.      The Time Between the Observation and Identification

     Det. Dominguez presented his single photo to Lt. Det.

Stewart less than twenty-four hours after Lt. Det. Stewart

observed the unidentified Hispanic male.        This is well within the

time courts have found sufficient to establish the reliability of

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       The Smith court also noted a number of inconsistencies
among the descriptions provided, but nevertheless noted that they
“remained relatively consistent.” 429 F. Supp. 2d at 452.

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an identification.    See, e.g., Manson, 432 U.S. at 116 (finding

reliable identification made two days after observation, noting

that “[w]e do not have here the passage of weeks or months

between the crime and the viewing of the photograph.”).

     Based on the totality of the circumstances, the Court

concludes that Lt. Det. Stewart’s identification of the

defendant, based on a single photograph shown to him less than

twenty-four hours after he observed the defendant, was otherwise

reliable.   Although Lt. Det. Stewart’s prior description of the

defendant was too general, his opportunity to observe the

defendant, his degree of attention, his certainty in identifying

the defendant, and the relatively short amount of time between

his observation and his identification all otherwise establish

the reliability of his identification.

D.   The Admissibility of the In-Court Identification

     The defendant further moved at the evidentiary hearing to

suppress “any further in-court identification of him being

present” on July 13, 2006.     (Tr. 106).    The defendant did not

separately brief this point, and did not seek a special procedure

for identifying the defendant in the courtroom.         However, the

defendant was the only guy in the room in the orange jumpsuit,

and the in-court identification procedure was suggestive.           Still,

where courts find an out-of-court identification of a defendant

admissible, courts frequently find the in-court identification of

the defendant also admissible.      See, e.g., Maguire, 918 F.2d at

265 (“Here, we have found the pretrial identification admissible;


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thus, the in-court identification of [the defendant] based upon

it must be admitted.”).     If the government seeks an in-court

identification at trial, it shall notify the defendant and the

parties shall brief the reliability factors prior to trial.

                                  ORDER

     The defendant’s motion to suppress evidence is DENIED.



                                  S/PATTI B. SARIS
                                  United States District Judge




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